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SO ORDERED.

SIGNED this 19th day of September, 2022.




                         UNITED STATES BANKRUPTCY COURT
                       MIDDLE DISTRICT OF NORTH CAROLINA
                              GREENSBORO DIVISION

   In re:                             )
                                      )
   Mya Deionshai Corbett,             )                     Chapter 13
                                      )                     Case No. 22-10293
        Debtor.                       )
   ___________________________________)
                                      )
   Mya Deionshai Corbett              )
                                      )
        Plaintiff,                    )
                                      )
   v.                                 )                     Adv. No. 22-02017
                                      )
   Towriffic Towing & Recovery and    )
   Oaktree Finance LLC                )
                                      )
        Defendant.                    )

      ORDER GRANTING MOTION TO EXTEND TIME TO RESPOND TO MOTION TO
                                 DISMISS

          This case came before the Court for hearing on September

    7, 2022, on Mya Deoinshai Corbett’s (“Plaintiff”) Motion to

    Extend Time to Respond to Motion to Dismiss, ECF No. 12 (“Motion

    to Extend”), filed on August 26, 2022, on which date Plaintiff

    also filed her Response, ECF No. 13.

          Having considered Plaintiff’s Motion to Extend and the

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attendant circumstances, including Debtor’s pro se status, and

for the reasons set forth on the record, the Court will grant

the motion and extend the time for Debtor to file a response to

the Motion to Dismiss by one day to August 26, 2022, the day on

which Plaintiff’s Response was filed.

     NOW, THEREFORE, IT IS HEREBY ORDERED that Plaintiff’s

Motion   to   Extend   is     GRANTED,       and   the   Court   will   consider

Plaintiff’s Response to Motion to Dismiss Adversary Proceedings.

                              [END OF DOCUMENT]




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                       Parties to be Served
                             22-02017

All parties to this Adversary Proceeding.




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